













NUMBER 13-08-057-CR



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG 


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SERGIO DANIEL GONZALES, 	Appellant,


v.



THE STATE OF TEXAS,	Appellee. 

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On appeal from the 197th District Court of Cameron County, Texas.


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MEMORANDUM OPINION


	

Before Chief Justices Yañez, Garza, and Benavides


Memorandum Opinion Per Curiam	


	Appellant, Sergio Daniel Gonzales, was convicted of aggravated assault and
evading arrest.  He timely filed his notice of appeal on November 2, 2005, together with a
motion for a free record.  On November 29, the trial court denied appellant's motion for a
free record.  Appellant thereafter, on February 16, filed a separate notice of appeal of the
trial court's denial of his motion for a free record.  This Court dismissed the appeal of the
trial court's denial of a free record for want of jurisdiction.  See Gonzales v. State, No. 13-05-00690-CR, 2008 Tex. App. LEXIS 3884, *2 (Tex. App.-Corpus Christi May 29, 2008,
pet. filed).  We severed appellant's appeal of his conviction into the instant cause number. 
See id.  We further directed appellant to request and pay, or make arrangements to pay,
for preparing the appellate record, and notify this Court of the date on which he has done
so, within 30 days of the date of that opinion or the appeal would be dismissed.  Id.; see 
Tex. R. App. P. 37.1, 44.3. 

	Appellant has failed to comply with this Court's directive, and has neither paid nor
made arrangements to pay for the record, nor requested an extension of time to do so. 
Accordingly, the appeal is DISMISSED.  See Tex. R. App. P. 37.3(b).  

										PER CURIAM

Do not publish.  See Tex. R. App. P. 47.2(b).


Memorandum Opinion delivered and

filed this the 21st day of August, 2008.






